                               Case 3:24-bk-02404-BAJ                            Doc 16         Filed 08/23/24           Page 1 of 48




 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         3:24-bk-2404
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 23, 2024                        X /s/ Raymond Chin
                                                                       Signature of individual signing on behalf of debtor

                                                                        Raymond Chin
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            KR Mechanical, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)              3:24-bk-2404
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,256,144.63

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,256,144.63


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,606,618.50


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            36,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,857,416.82


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,500,035.32




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         3:24-bk-2404
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Synovus Bank                                            Checking                        9156                                    $14,628.37




           3.2.     Synovus Bank                                            Savings                         0209                                         $50.07



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                $14,678.44
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         KR Mechanical, LLC                                                                Case number (If known) 3:24-bk-2404
                Name


           11a. 90 days old or less:                         1,819,340.28    -                                   0.00 = ....               $1,819,340.28
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                            2,294,649.40    -                                  0.00 =....                 $2,294,649.40
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                        $4,113,989.68
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used    Current value of
                                                                                 debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Kalax Shelves                                                                        $0.00                                             $400.00


           Office Furniture - Couches/Desks/Office Chairs                                       $0.00                                           $3,100.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment - Laptops/Security camera and
           monitoring system/Ipads/Cell Phones                                                  $0.00                                           $1,400.00


           Office printers                                                                      $0.00                                             $200.00


           Safety Goggles, Gloves, and harnesses/lanyards                                       $0.00                                             $150.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         KR Mechanical, LLC                                                            Case number (If known) 3:24-bk-2404
                Name




 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $5,250.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     12' Covered Trailer                                                    $0.00                                          $1,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery, fixtures, and equipment - Duct Jacks                                  $0.00                                            $250.00


           Machinery, fixtures, and equipment - Coil
           Link/Plasma Table                                                                $0.00                                       $120,286.51



 51.       Total of Part 8.
                                                                                                                                    $122,036.51
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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                               Case 3:24-bk-02404-BAJ                       Doc 16      Filed 08/23/24        Page 6 of 48

 Debtor         KR Mechanical, LLC                                                           Case number (If known) 3:24-bk-2404
                Name



 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            Surety Bonds - Philadelphia Indemnity                                                                                          Unknown



            Surety Bonds - FCCI Group                                                                                                      Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Clothing                                                                                                                        $190.00



 78.        Total of Part 11.
                                                                                                                                         $190.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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                                  Case 3:24-bk-02404-BAJ                                 Doc 16             Filed 08/23/24               Page 7 of 48

 Debtor          KR Mechanical, LLC                                                                                 Case number (If known) 3:24-bk-2404
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $14,678.44

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                $4,113,989.68

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $5,250.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $122,036.51

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                       $190.00

 91. Total. Add lines 80 through 90 for each column                                                        $4,256,144.63             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,256,144.63




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 5
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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)             3:24-bk-2404
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Synovus Bank                                  Describe debtor's property that is subject to a lien                  $120,286.81               $120,286.51
       Creditor's Name                               Machinery, fixtures, and equipment - Coil
                                                     Link/Plasma Table
       7768 Ozark Dr., Ste 100
       Jacksonville, FL 32256
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0012
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Synovus Bank                                  Describe debtor's property that is subject to a lien                $1,486,331.69             $2,294,649.40
       Creditor's Name                               Accounts Receivable

       7768 Ozark Dr., Ste 100
       Jacksonville, FL 32256
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0010
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       KR Mechanical, LLC                                                                Case number (if known)         3:24-bk-2404
              Name


                                                                                                                         $1,606,618.5
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)           3:24-bk-2404
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $36,000.00          $0.00
           Internal Revenue Services                                 Check all that apply.
                                                                        Contingent
           P.O. Box 7346
                                                                        Unliquidated
           Philadelphia, PA 19101
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                             $0.00
           A Crane Rental, LLC
                                                                                       Contingent
           10419 General Ave                                                           Unliquidated
           Jacksonville, FL 32220                                                      Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $540.00
           A&A Pro Cleaning Services, LLC
                                                                                       Contingent
           3901 Industry Blvd Ste 1                                                    Unliquidated
           Lakeland, FL 33811                                                          Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $155,718.21
           AAON
                                                                                       Contingent
           2425 South Yukon Ave                                                        Unliquidated
           Tulsa, OK 74107                                                             Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 23
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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,138.40
          Accredited Firestop Installers
                                                                                Contingent
          1501 Roberty J Conlan Blvd NE, Ste 280                                Unliquidated
          Palm Bay, FL 32905                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AccuAir
                                                                                Contingent
          2900 W Orange Ave.                                                    Unliquidated
          Apopka, FL 32703                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $205.10
          Admin America, Inc.
                                                                                Contingent
          1720 Windward Concourse                                               Unliquidated
          Alpharetta, GA 30005                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $86.40
          Advanced Cutting Systems
                                                                                Contingent
          112 Hilltop Business Center Drive                                     Unliquidated
          Pelham, AL 35124                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,739.28
          Aerotek
                                                                                Contingent
          PO Box 198531                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,186.17
          AHERN Rentals, Inc
                                                                                Contingent
          6931 Business Park Blvd N                                             Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,724.20
          Air Flow Pros
                                                                                Contingent
          840 Edgewood Ave S                                                    Unliquidated
          Jacksonville, FL 32205                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,230.28
          AirGas
                                                                                Contingent
          3069 W Beaver St.                                                     Unliquidated
          Jacksonville, FL 32209                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 23
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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $408,694.00
          Airstron, LLC
                                                                                Contingent
          1559 Southwest 21st Ave                                               Unliquidated
          Fort Lauderdale, FL 33312                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          All Smith Mechanical
                                                                                Contingent
          245 Franklin Ave.                                                     Unliquidated
          Jacksonville, FL 32218                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Amazon
                                                                                Contingent
          410 Terry Ave N                                                       Unliquidated
          Seattle, WA 98109                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          American Air Balance
                                                                                Contingent
          4721 E Hunter Ave                                                     Unliquidated
          Anaheim, CA 92807                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,496.19
          American Express
                                                                                Contingent
          6985 Union Park Center                                                Unliquidated
          Midvale, UT 84047                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 3007                               Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,297.44
          Applied Mechanical Equipment
                                                                                Contingent
          11455 Saints Road                                                     Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,071.00
          Associated Builders and Contractors
                                                                                Contingent
          8130 Baymeadows Way W, Ste 307                                        Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          AT&T Mobility
                                                                                Contingent
          PO Box 6463                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $252,162.09
          Atlantic Insulation, Inc
                                                                                Contingent
          325 Dennard Ave.                                                      Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,265.28
          Baker Distributing Co LLC
                                                                                Contingent
          2121 Edison Ave                                                       Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Barcelona Crane Rental
                                                                                Contingent
          10342 New Kings Rd                                                    Unliquidated
          Jacksonville, FL 32219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,424.10
          Barcelona Equipment, Inc.
                                                                                Contingent
          10342 New Kings Rd                                                    Unliquidated
          Jacksonville, FL 32219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Best Buy
                                                                                Contingent
          7601 Penn Ave S.                                                      Unliquidated
          Minneapolis, MN 55423                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,983.01
          Bookkeeping and Accounting of FL
                                                                                Contingent
          9908 Old St. Augustine Rd                                             Unliquidated
          Jacksonville, FL 32257                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,865.94
          Bridgefield Casualty Insurance Company
                                                                                Contingent
          2626 Canal St., 3rd Floor                                             Unliquidated
          New Orleans, LA 70119                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $271,959.51
          Brooks Building Solutions
                                                                                Contingent
          4501 Beverly Ave                                                      Unliquidated
          Jacksonville, FL 32210                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bryson Crane
                                                                                Contingent
          Marion St #225                                                        Unliquidated
          Daytona Beach, FL 32114                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Capital Gurus
                                                                                Contingent
          1700 S Pavillion Center Dr., Ste 420                                  Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,769.00
          CaptiveAire
                                                                                Contingent
          12620 Beach Blvd.                                                     Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carrier Corporate
                                                                                Contingent
          13995 Pasteur Blvd                                                    Unliquidated
          Palm Beach Gardens, FL 33418                                          Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,783.93
          Carrier Enterprise
                                                                                Contingent
          8691 Western Way                                                      Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CAVH HVAC
                                                                                Contingent
          4906 Creekside Dr.                                                    Unliquidated
          Clearwater, FL 33760                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Central Florida Sheet Metal
                                                                                Contingent
          518South Industry Rd                                                  Unliquidated
          Cocoa, FL 32926                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,963.60
          Certified Control Systems
                                                                                Contingent
          4505 Marquette Avenue                                                 Unliquidated
          Jacksonville, FL 32210                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christopher Sherrick                                                  Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cintas Fire Protection
                                                                                Contingent
          7251 Salisbury Rd                                                     Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,684.53
          Cintas Fire Protection
                                                                                Contingent
          PO Box 636525                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Citibank/the Home Depot
                                                                                Contingent
          PO Box 6497                                                           Unliquidated
          Sioux Falls, SD 57117-6497                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,210.02
          City Electric Supply
                                                                                Contingent
          11855 N Main Street                                                   Unliquidated
          Jacksonville, FL 32218                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $70.96
          City of Jacksonville
                                                                                Contingent
          515 N Julia St                                                        Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,250.00
          CK Palm Landworks Corp
                                                                                Contingent
          11804 Brady Rd.                                                       Unliquidated
          Jacksonville, FL 32223                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,168.45
          Cogbrun Bros. Inc
                                                                                Contingent
          Faye Road #3300                                                       Unliquidated
          Jacksonville, FL 32226                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Coker Crane and Rigging
                                                                                Contingent
          850369 Highway 17                                                     Unliquidated
          Yulee, FL 32097                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,892.21
          Colony Hardware Corp
                                                                                Contingent
          9315 Old Kings Rd S                                                   Unliquidated
          Jacksonville, FL 32257                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $773.95
          Comcast/Xfinity
                                                                                Contingent
          1701 John F. Kennedy Blvd.                                            Unliquidated
          Philadelphia, PA 19103                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Commercia Duct Systems, LLC
                                                                                Contingent
          9707 Williams Rd.                                                     Unliquidated
          Thonotosassa, FL 33592                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Concrete Cutting & Breaking
                                                                                Contingent
          4500 Airwest Dr SE                                                    Unliquidated
          Grand Rapids, MI 49512                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Conditioned Air & Power
                                                                                Contingent
          11243 Saint Johns Industrial Parkway S                                Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,197.17
          Conklin Metal Industries, Inc.
                                                                                Contingent
          PO Box 117060                                                         Unliquidated
          Atlanta, GA 30368                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Craftsman Contractors
                                                                                Contingent
          7901 Baymeadows Way #6                                                Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Culligan
                                                                                Contingent
          604 College Street                                                    Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daikin Applied
                                                                                Contingent
          24827 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,090.39
          De Lage Landen Financial Services Inc
                                                                                Contingent
          4600 Touchton Rd E., Building 100, St2 550                            Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dex Imaging
                                                                                Contingent
          4810 Executive Park Court, #102                                       Unliquidated
          Jacksonville, FL 32216                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $375.00
          Dyatech
                                                                                Contingent
          381 Highland Colony Parkway                                           Unliquidated
          Ridgeland, MS 39157                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          East Coast Repair & Fabrication
                                                                                Contingent
          4100 Haines St                                                        Unliquidated
          Jacksonville, FL 32206                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $243,379.54
          Eastern Industrial Supplies, Inc.
                                                                                Contingent
          11 Caledon Ct                                                         Unliquidated
          Greenville, SC 29615                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,843.98
          Engineered Air
                                                                                Contingent
          W 83rd St                                                             Unliquidated
          Middleburg, FL 32050                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Enterprise Fleet Management
                                                                                Contingent
          11034 Atlantic Blvd                                                   Unliquidated
          Jacksonville, FL 32225                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,855.30
          Equipment Share
                                                                                Contingent
          11250 Business Park Blvd                                              Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $180,274.40
          Facility Automations
                                                                                Contingent
          6900 Phillips Industrial Blvd                                         Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Fastenal
                                                                                Contingent
          1408 Haines St.                                                       Unliquidated
          Jacksonville, FL 32206                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ferguson
                                                                                Contingent
          7380 Philips Highway                                                  Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,325.00
          First Coast Fire & Safety Equipment
                                                                                Contingent
          5905 Macy Ave                                                         Unliquidated
          Jacksonville, FL 32211                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          FJ Nugent & Associates, Inc.
                                                                                Contingent
          269 Hunt Park Cove                                                    Unliquidated
          Longwood, FL 32750                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Florida Department of Revenue
          Bankruptcy Unit
                                                                                Contingent
          P.O. Box 6668                                                         Unliquidated
          Tallahassee, FL 32314                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Florida Hydronics Inc
                                                                                Contingent
          7780 Westside Industrial Dr.                                          Unliquidated
          Jacksonville, FL 32219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,407.00
          Florida Surety Bonds
                                                                                Contingent
          620 Wymore Rd., Ste 200                                               Unliquidated
          Maitland, FL 32751                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Forida mechanical Systems, Inc.
                                                                                Contingent
          Edison Avenue #2734                                                   Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,500.00
          FR Energy Solutions
                                                                                Contingent
          653 Drew Court                                                        Unliquidated
          Bartow, FL 33830                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gemaire
                                                                                Contingent
          2899 Powers Ave.                                                      Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,622.33
          General Insulation
                                                                                Contingent
          6950 Highway Ave., Ste 104                                            Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Grainger
                                                                                Contingent
          8450 Philips Highway                                                  Unliquidated
          Jacksonville, FL 32257                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ground Penetrating Radar System, LLC
                                                                                Contingent
          1901 Indian Wood Circle                                               Unliquidated
          Maumee, OH 43537                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,234.37
          H&E Equipment Services, Inc.
                                                                                Contingent
          240 Hammond Blvd.                                                     Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,549.78
          Hajoca
                                                                                Contingent
          6964 Highway Ave.                                                     Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Harrington Industrial Plastics
                                                                                Contingent
          8641 Western Way                                                      Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Heerc Rentals
                                                                                Contingent
          11451 Philips Highway                                                 Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,891.42
          Herc Rentals
                                                                                Contingent
          11451 Phillips Hwy                                                    Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          High Reach HR2
                                                                                Contingent
          1447 Pickettville Rd.                                                 Unliquidated
          Jacksonville, FL 32220                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,438.00
          Holistic Test & Balance
                                                                                Contingent
          3644 Post St.                                                         Unliquidated
          Jacksonville, FL 32205                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,945.70
          Hughes Supply
                                                                                Contingent
          5501 Commonwealth Ave.                                                Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Industrial Mechanical
                                                                                Contingent
          5465 Verna Blvd.                                                      Unliquidated
          Jacksonville, FL 32205                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $205,192.45
          Insight Partners
                                                                                Contingent
          10405 NW 37th Terrace                                                 Unliquidated
          Miami, FL 33178                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $213,477.12
          Integrated Cooling Solutions
                                                                                Contingent
          11455 Saints Rd                                                       Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,568.20
          Intelligent Consulting Engineers
                                                                                Contingent
          2093 Philadelphia Pike                                                Unliquidated
          Claymont, DE 19703                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,954.66
          Internal Revenue Service
                                                                                Contingent
          P.O. Box 7346                                                         Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          IPFS Insurance
                                                                                Contingent
          3632 Queen Palm Dr                                                    Unliquidated
          Tampa, FL 33619                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,200.00
          Island Concrete Cutting
                                                                                Contingent
          2118 Arden Forest Place                                               Unliquidated
          Fleming Island, FL 32003                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,146.70
          JEA
                                                                                Contingent
          225 N. Pearl                                                          Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 9184                               Is the claim subject to offset?      No         Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John Q Bullard Associates Inc.
                                                                                Contingent
          1850-D Beaver Ridge Circle                                            Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $187,343.82
          Johnson Controls, Inc
                                                                                Contingent
          4820 Executive Park Court                                             Unliquidated
          Jacksonville, FL 32216                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,164.75
          Johnstone Supply, LLC
                                                                                Contingent
          500 Park St                                                           Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jones Welding & Industrial Supply, Inc
                                                                                Contingent
          1359 Schley Ave                                                       Unliquidated
          Albany, GA 31707                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JP Morgan Chase Bank
                                                                                Contingent
          887 Donald Ross Rd.                                                   Unliquidated
          Juno Beach, FL 33408                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Knowify
                                                                                Contingent
          76 Bowery 7th Fl                                                      Unliquidated
          New York, NY 10013                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Koolfab
                                                                                Contingent
          606 Lane Ave N., Ste 2                                                Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KRCM Holdings, LLC
                                                                                Contingent
          2670 Phyllis St                                                       Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Landrum HR Workforce Solutions
                                                                                Contingent
          6715 Plantation Rd                                                    Unliquidated
          Pensacola, FL 32504                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $98.69
          LDI Reproprinting - Jax Color
                                                                                Contingent
          806 Rosselle St.                                                      Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,210.00
          Lowe Structures, Inc
                                                                                Contingent
          11651 Central Pkwy #106                                               Unliquidated
          Jacksonville, FL 32224                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Martinez Sheet Metal
                                                                                Contingent
          625 Bluebill Ct.                                                      Unliquidated
          Kissimmee, FL 34759                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $161.25
          Massey
                                                                                Contingent
          PO Box 547668                                                         Unliquidated
          Orlando, FL 32854                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Master Insulation
                                                                                Contingent
          87 Camelia Dr                                                         Unliquidated
          32505                                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $301,634.18
          Master Insulation, Inc.
                                                                                Contingent
          PO Box 3185                                                           Unliquidated
          Pensacola, FL 32516                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,786.57
          MBCI                                                                  Contingent
                                                                                Unliquidated
          1601 Rogers Rd                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $500,945.51
          Mechanical Services of Central FL, Inc.
                                                                                Contingent
          4505 Marquette Avenue                                                 Unliquidated
          Jacksonville, FL 32210                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Medical Express Corporation
                                                                                Contingent
          4237 Salisbury Rd., Ste 304                                           Unliquidated
          Jacksonville, FL 32216                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $92,444.61
          Medical Technology Associates
                                                                                Contingent
          6651 102nd Avenue N                                                   Unliquidated
          Pinellas Park, FL 33782                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,435.97
          Mobile Mini
                                                                                Contingent
          8825 Moncrief Dinsmore Rd                                             Unliquidated
          Jacksonville, FL 32219                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mobile Modular
                                                                                Contingent
          11836 Camden Road                                                     Unliquidated
          Jacksonville, FL 32218                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          National Sheet Metal, LLC
                                                                                Contingent
          2406 Gap Rd                                                           Unliquidated
          Altamont, TN 37301                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          NEFBA Northeast Florida Builders Assoc.
                                                                                Contingent
          6747 Southpoint Parkway                                               Unliquidated
          Jacksonville, FL 32216                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,479.17
          Nelson & Company, LLC
                                                                                Contingent
          3914 Beach Blvd #100                                                  Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Northern Duct
                                                                                Contingent
          741 Northwest 127th Ave.                                              Unliquidated
          Coral Springs, FL 33071                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          OSC
                                                                                Contingent
          1626 Williamsburg Square                                              Unliquidated
          Lakeland, FL 33803                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,868.22
          Palatka Thermal Logistics, LLC
                                                                                Contingent
          134 Whispering Winds Road                                             Unliquidated
          Palatka, FL 32177                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          People Ready / True Blue
                                                                                Contingent
          1015 A Street                                                         Unliquidated
          Tacoma, WA 98402                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Philadelphia Insurance Companies
                                                                                Contingent
          PO Box 70251                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,754.80
          Phoenix Metals Company
                                                                                Contingent
          PO Box 932589                                                         Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $66,189.34
          PVF Industrial
                                                                                Contingent
          558 Stuart Lane                                                       Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Quickbooks Online
                                                                                Contingent
          2700 Coast Ave.                                                       Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $89.06
          R.E. Michel Company
                                                                                Contingent
          2953 Powers Ave                                                       Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ram Tool
                                                                                Contingent
          6858 Phillips Parkway Dr S.                                           Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          RezLegal, LLC
                                                                                Contingent
          A1A North # 816                                                       Unliquidated
          Ponte Vedra Beach, FL 32082                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ring Power Corp.
                                                                                Contingent
          500 World Commerce Parkway                                            Unliquidated
          Saint Augustine, FL 32092                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $707.69
          Ritz Safety
                                                                                Contingent
          4456 Philips Highway                                                  Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,847.10
          Roberts Oxygen Company Inc.
                                                                                Contingent
          PO Box 5507                                                           Unliquidated
          Derwood, MD 20855                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,374.00
          Roth Southeast
                                                                                Contingent
          204 SW 21st Terrace                                                   Unliquidated
          Fort Lauderdale, FL 33312                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,024.19
          Ryan Herco Flow Solutions
                                                                                Contingent
          5636 W 5th St.                                                        Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sams Club
                                                                                Contingent
          10100 Canal Rd.                                                       Unliquidated
          Brunswick, GA 31525                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,198.14
          Sea Can, LLC
                                                                                Contingent
          PO Box 590023                                                         Unliquidated
          Orlando, FL 32859                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sea-Can Containers Ltd                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $567.46
          Security Center USA
                                                                                Contingent
          2000 Art Museum Drive                                                 Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Servpro of Jacksonville South
                                                                                Contingent
          750 Cassat Ave.                                                       Unliquidated
          Jacksonville, FL 32205                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sims Crane
                                                                                Contingent
          1219 U.S. Hwy 301 N                                                   Unliquidated
          Tampa, FL 33619                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $600.00
          Skinner Horizontal Utilities Services
                                                                                Contingent
          2821 Apache Ave                                                       Unliquidated
          Jacksonville, FL 32210                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,633.22
          Southern Carlson
                                                                                Contingent
          9456 Philips Highway, Ste 5                                           Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Specialty Products & Insulation
                                                                                Contingent
          6803 Stuart Lane South                                                Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $669.25
          Spot Coolers
                                                                                Contingent
          29749 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stan Weaver & Co.
                                                                                Contingent
          4255 Emerson Street                                                   Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Strate Welding Company
                                                                                Contingent
          29 McDuff Ave. S                                                      Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,189.59
          Strate Welding Supply
                                                                                Contingent
          PO Box 37330                                                          Unliquidated
          Jacksonville, FL 32236                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,587.08
          Sun Life Financial
                                                                                Contingent
          96 Worester St.                                                       Unliquidated
          Wellesley Hills, MA 02481                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunbelt Rentals, Inc.
                                                                                Contingent
          2015 Directors Row                                                    Unliquidated
          Orlando, FL 32809                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sunpass
                                                                                Contingent
          9405 W. Colonial Dr                                                   Unliquidated
          Ocoee, FL 34761                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $54,721.95
          Sunstate Equipment Co., LLC
                                                                                Contingent
          5552 E Washington St                                                  Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Superior Scaffolding & Insulation, Inc.
                                                                                Contingent
          1623 Blanding Blvd                                                    Unliquidated
          Middleburg, FL 32068                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Synchrony Bank/Lowes
                                                                                Contingent
          PO Box 71727                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tempaco, Inc
                                                                                Contingent
          6695 Colray Ct                                                        Unliquidated
          Jacksonville, FL 32258                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,638.94
          The Liles Firm, P.A.
                                                                                Contingent
          50 N. Laura St., Ste 1200                                             Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,656.62
          Thermal Tech, Inc
                                                                                Contingent
          5141 Forsyth Commerce Rd.                                             Unliquidated
          Orlando, FL 32807                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,960.92
          Tom Barrow Company
                                                                                Contingent
          6950 Hwy Ave Ste 1                                                    Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tradesmen International
                                                                                Contingent
          9440 Philips Highway, Ste 10                                          Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $179,634.44
          Trane
          c/o Bank of America
          Attn: Lockbox #406469
                                                                                Contingent
          6000 Feldwood Rd                                                      Unliquidated
          Atlanta, GA 30349                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Travelers Business Insurance
                                                                                Contingent
          One Tower Square                                                      Unliquidated
          Hartford, CT 06183                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,877.98
          Tri-Lane Equipment Rentals
                                                                                Contingent
          80 Pro 3 Parkway                                                      Unliquidated
          Saint Marys, GA 31558                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $71,926.00
          Trimble
                                                                                Contingent
          10368 Westmoor Drive                                                  Unliquidated
          Broomfield, CO 80021                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $48,574.65
          Tru Technology
                                                                                Contingent
          208 N Laura St.                                                       Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Tru Technology
                                                                                Contingent
          25 N Market Street, Ste 300F                                          Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Refrigeration, Inc.
                                                                                Contingent
          1004 Rosselle St                                                      Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $68,987.36
          United Rentals
                                                                                Contingent
          5402 Philips Hwy                                                      Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
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 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Rentals
                                                                                Contingent
          6931 Business Park Blvd N                                             Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $989.00
          Vertiv Corporation
                                                                                Contingent
          505N Cleveland Ave                                                    Unliquidated
          Westerville, OH 43082                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Vystar Credit Union
          76 South Laura Street
                                                                                Contingent
          Vystar Tower                                                          Unliquidated
          Jacksonville, FL 32202                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          W.W. Gay
                                                                                Contingent
          524 Stockton St                                                       Unliquidated
          Jacksonville, FL 32204                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,085.77
          Waste Pro Services
                                                                                Contingent
          2940 Strickland St                                                    Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Watts Mechanical and Plumbing, Inc.
                                                                                Contingent
          13490 Hance Lane                                                      Unliquidated
          Jacksonville, FL 32220                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,576.46
          Wex Ent. Fleet Exxon Mobile Cards
                                                                                Contingent
          PO Box 639                                                            Unliquidated
          Portland, ME 04104                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 8850                               Is the claim subject to offset?      No         Yes


 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          White Cap, L.P.
                                                                                Contingent
          PO Box 4944                                                           Unliquidated
          Orlando, FL 32802                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       KR Mechanical, LLC                                                                      Case number (if known)            3:24-bk-2404
              Name

 3.172     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $85,644.70
           William R. Nash, LLC
                                                                                Contingent
           6401 Nob Hill Road                                                   Unliquidated
           Fort Lauderdale, FL 33321                                            Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.173     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $349.73
           Windy City Wire
                                                                                Contingent
           386 Internationale Dr, Ste H                                         Unliquidated
           Bolingbrook, IL 60440                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.174     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,303.38
           Win-Supply
                                                                                Contingent
           2365 Dennis St.                                                      Unliquidated
           Jacksonville, FL 32204                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.175     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           World Electric
                                                                                Contingent
           7700 Congress Ave.                                                   Unliquidated
           Boca Raton, FL 33487                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.176     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $12,663.50
           Youn's Boiler Service Inc.
                                                                                Contingent
           3501 W 20th St.                                                      Unliquidated
           Jacksonville, FL 32254                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        36,000.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     4,857,416.82

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                         4,893,416.82




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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         3:24-bk-2404
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Copier and related
             lease is for and the nature of               equipment
             the debtor's interest

                 State the term remaining                                            DLL Group
                                                                                     4600 Touchton Road East
             List the contract number of any                                         Building 100, Suite 550
                   government contract                                               Jacksonville, FL 32246


 2.2.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     KRCM Holdings, LLC
             List the contract number of any                                         2670 Phyllis St
                   government contract                                               Jacksonville, FL 32204


 2.3.        State what the contract or                   Business IT Services
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     TruTechnology
             List the contract number of any                                         208 North Laura Street, 10th Floor
                   government contract                                               Jacksonville, FL 32202




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         3:24-bk-2404
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         KR Mechanical, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         3:24-bk-2404
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                      $7,450,327.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                    $21,448,178.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                    $28,348,162.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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 Debtor       KR Mechanical, LLC                                                                        Case number (if known) 3:24-bk-2404




          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               American Express                                                                               $8,000.00
               6985 Union Park Center                                                                                            Unsecured loan repayments
               Midvale, UT 84047                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.2.                                                                                                                      Secured debt
               Synovus Bank                                                6/3/24,                          $36,084.80
               7768 Ozark Dr., Ste 100                                     7/2/24, 8/5/24                                        Unsecured loan repayments
               Jacksonville, FL 32256                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.3.                                                                                                                      Secured debt
               Synovus Bank                                                6/13/24,                           $8,339.68
               7768 Ozark Dr., Ste 100                                     7/15/24                                               Unsecured loan repayments
               Jacksonville, FL 32256                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.4.                                                                                                                      Secured debt
               Carrier Enterprise                                          6/13/24                              $941.00
               8691 Western Way                                                                                                  Unsecured loan repayments
               Jacksonville, FL 32256                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.5.                                                                                                                      Secured debt
               Capital Gurus                                               6/25, 7/25                       $28,000.00
               1700 S Pavillion Center Dr., Ste 420                                                                              Unsecured loan repayments
               Las Vegas, NV 89135                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.6.                                                                                                                      Secured debt
               Comcast/Xfinity                                             6/25, 7/25                           $647.64
               1701 John F. Kennedy Blvd.                                                                                        Unsecured loan repayments
               Philadelphia, PA 19103                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.7.                                                                                                                      Secured debt
               Vystar Credit Union                                         6/20, 7/17                         $6,000.00
               76 S Laura St                                                                                                     Unsecured loan repayments
               Jacksonville, FL 32202                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.8.                                                                                                                      Secured debt
               Serve Pro of Jacksonville South                             7/15                                 $649.57
               750 Cassat Ave.                                                                                                   Unsecured loan repayments
               Jacksonville, FL 32205                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.9.                                                                                                                      Secured debt
               Enterprise Fleet Management                                 6/20, 7/22                       $44,180.26
               8050 Vista Reserve Blvd                                                                                           Unsecured loan repayments
               Orlando, FL 32829                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10                                                                                                                      Secured debt
       .
            Synovus Bank                                                   6/3/24,                              $916.50
               7768 Ozark Dr., Ste 100                                     6/5/24,                                               Unsecured loan repayments
               Jacksonville, FL 32256                                      6/10/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           7/1/24,
                                                                                                                                 Other
                                                                           7/3/24,
                                                                           7/5/24,
                                                                           7/29/24,
                                                                           8/1/24,
                                                                           8/5/24, 8/8/24
       3.11                                                                                                                      Secured debt
       .
            JEA                                                            6/5/24,                            $5,250.23
               225 N Pearl                                                 7/8/24, 8/7/24                                        Unsecured loan repayments
               Jacksonville, FL 32202                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.12                                                                                                                      Secured debt
       .
            JP Morgan Chase Bank                                           6/12/24,                           $2,000.00
               270 Park Avenue                                             7/12/24                                               Unsecured loan repayments
               New York, NY 10017                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.13                                                                                                                      Secured debt
       .
            Baker Distributing Co LLC                                      6/11/24,                         $13,803.39
               2121 Edison Ave.                                            6/20/24                                               Unsecured loan repayments
               Jacksonville, FL 32204                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.14                                                                                                                      Secured debt
       .
            Johnstone Supply, LLC                                          6/20/24,                         $14,764.49
               500 Park St.                                                7/23/24                                               Unsecured loan repayments
               Jacksonville, FL 32204                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.15                                                                                                                      Secured debt
       .
            United Rentals                                                 6/5/2024,                        $14,962.86
               5402 Philips Hwy                                            6/20/24                                               Unsecured loan repayments
               Jacksonville, FL 32207                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.16                                                                                                                      Secured debt
       .
            Barcelona Crane Rental                                         6/21/24                            $8,089.15
               10342 New Kings Rd                                                                                                Unsecured loan repayments
               Jacksonville, FL 32219                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.17                                                                                                                      Secured debt
       .
            A&A Pro Cleaning                                               6/21/24                            $1,080.00
               3901 Industry Blvd Ste 1                                                                                          Unsecured loan repayments
               Lakeland, FL 33811                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.18                                                                                                                      Secured debt
       .
            Colony Hardware Corp                                           6/17/24,                         $15,113.75
               9315 Old Kings Rd S                                         7/16/24                                               Unsecured loan repayments
               Jacksonville, FL 32257                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.19                                                                                                                      Secured debt
       .
            Windy City Wire                                                7/16/24                              $800.88
               386 International Dr, Ste H                                                                                       Unsecured loan repayments
               Bolingbrook, IL 60440                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.20                                                                                                                      Secured debt
       .
            Holistic Test & Balance                                        6/21/24                            $7,426.00
               3644 Post St.                                                                                                     Unsecured loan repayments
               Jacksonville, FL 32205                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.21                                                                                                                      Secured debt
       .
            Atlantic Insulation, Inc                                       6/25/24                            $7,554.60
               325 Dennard Ave.                                                                                                  Unsecured loan repayments
               Jacksonville, FL 32254                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.22                                                                                                                      Secured debt
       .
            Sea Can, LLC                                                   6/26/24                            $7,046.51
               PO Box 590023                                                                                                     Unsecured loan repayments
               Orlando, FL 32859                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.23                                                                                                                      Secured debt
       .
            Dex Imaging                                                    7/10/24                              $972.76
               4810 Executive Park Court, #102                                                                                   Unsecured loan repayments
               Jacksonville, FL 32216                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.24                                                                                                                      Secured debt
       .
            Strate Welding Company                                         7/16/24                              $295.28
               29 McDuff Ave. S                                                                                                  Unsecured loan repayments
               Jacksonville, FL 32254                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.25                                                                                                                      Secured debt
       .
            Nelson & Company, LLC                                          7/17/24,                         $31,763.93
               3914 Beach Blvd #100                                        7/19/24                                               Unsecured loan repayments
               Jacksonville, FL 32207                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.26                                                                                                                      Secured debt
       .
            Tom Barrow Company                                             6/5/24,                          $70,412.94
               6950 Hwy Ave., Ste 1                                        6/12/24,                                              Unsecured loan repayments
               Jacksonville, FL 32254                                      6/20/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           6/25/24,
                                                                                                                                 Other
                                                                           7/16/24,
                                                                           7/18/24
       3.27                                                                                                                      Secured debt
       .
            JAX Refrigeration, Inc.                                        6/5/24, 7/8/24                   $20,000.00
               820 A1A N., Ste w-4                                                                                               Unsecured loan repayments
               Ponte Vedra Beach, FL 32082                                                                                       Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.28                                                                                                                      Secured debt
       .
            All Smith Mechanical                                           6/14/24,                         $10,440.00
               245 Franklin Ave.                                           6/21/24,                                              Unsecured loan repayments
               Jacksonville, FL 32218                                      7/3/24,                                               Suppliers or vendors
                                                                                                                                 Services
                                                                           7/23/24
                                                                                                                                 Other

       3.29                                                                                                                      Secured debt
       .
            Landrum HR Workforce Solutions                                 6/5/24,                       $1,465,809.91
               6715 Plantation Rd.                                         6/7/24,                                               Unsecured loan repayments
               Pensacola, FL 32504                                         6/13/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           6/14/24,
                                                                                                                                 Other
                                                                           6/17/24,
                                                                           6/21/24,
                                                                           6/28/24,
                                                                           7/3/24,
                                                                           7/5/24,
                                                                           7/12/24,
                                                                           7/19/24,
                                                                           7/22/24,
                                                                           7/26/24,
                                                                           7/31/24,
                                                                           8/2/24, 8/7/24
       3.30                                                                                                                      Secured debt
       .
            Knowify                                                        6/6/24,                            $1,472.94
               76 Bowery 7th FL                                            7/3/24, 8/6/24                                        Unsecured loan repayments
               New York, NY 10013                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.31                                                                                                                      Secured debt
       .
            Security Center USA                                            6/6/24,                              $351.77
               2000 Art Museum Dr.                                         7/5/24, 8/9/24                                        Unsecured loan repayments
               Jacksonville, FL 32207                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.32                                                                                                                      Secured debt
       .
            Quickbooks Online                                              6/20/24,                             $400.00
               2700 Coast Ave.                                             7/19/24                                               Unsecured loan repayments
               Mountain View, CA 94043                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.33                                                                                                                      Secured debt
       .
            IPFS Insurance                                                 6/24/24                          $19,159.75
               36632 Queen Palm Dr.                                                                                              Unsecured loan repayments
               Tampa, FL 33619                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.34                                                                                                                      Secured debt
       .
            SunPass                                                        6/21/24,                             $140.00
               9405 W. Colonial Dr.                                        6/24/24,                                              Unsecured loan repayments
               Ocoee, FL 34761                                             6/27/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           6/28/24,
                                                                                                                                 Other
                                                                           7/1/24,
                                                                           7/17/24,
                                                                           7/18/24,
                                                                           7/19/24,
                                                                           7/22/24




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.35                                                                                                                      Secured debt
       .
            Wright Express Fleet                                           6/7/24,                          $29,310.30
               PO Box 639                                                  6/26/24,                                              Unsecured loan repayments
               Portland, ME 04104                                          7/12/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           7/25/24,
                                                                                                                                 Other
                                                                           7/29/24

       3.36                                                                                                                      Secured debt
       .
            Citibank/the Home Depot                                        7/17/24,                             $506.65
               PO Box 6497                                                 7/22/24                                               Unsecured loan repayments
               Sioux Falls, SD 57117                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.37                                                                                                                      Secured debt
       .
            Synchrony Bank/Lowes                                           6/21/24                                $27.89
               PO Box 71727                                                                                                      Unsecured loan repayments
               Philadelphia, PA 19176                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.38                                                                                                                      Secured debt
       .
            Amazon                                                         6/14/24,                             $170.27
               410 Terry Ave. N                                            6/21/24,                                              Unsecured loan repayments
               Seattle, WA 98109                                           6/24/24,                                              Suppliers or vendors
                                                                                                                                 Services
                                                                           7/15/24
                                                                                                                                 Other

       3.39                                                                                                                      Secured debt
       .
            Sams Club                                                      6/28/24,                             $661.00
               10100 Canal Rd.                                             7/22/24                                               Unsecured loan repayments
               Brunswick, GA 31525                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.40                                                                                                                      Secured debt
       .
            Tempaco, Inc.                                                  6/5/24                               $928.96
               6695 Colray Ct                                                                                                    Unsecured loan repayments
               Jacksonville, FL 32258                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.41                                                                                                                      Secured debt
       .
            Best Buy                                                       7/24/24                            $2,007.00
               7601 Penn Ave. S                                                                                                  Unsecured loan repayments
               Minneapolis, MN 55423                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Raymond Chin                                                1/24/24,                         $65,000.00           Tax Distribution
                                                                           3/1/24,
               CEO/Owner                                                   3/20/24,
                                                                           4/15/24,
                                                                           5/21/24,
                                                                           6/21/24,
                                                                           7/21/24,
                                                                           8/9/24

       4.2.    Kerry Mowlam                                                1/30/24,                         $64,745.21           Owner Distribution/Tax
                                                                           3/21/24,                                              Distribution
               COO/Owner                                                   4/12/24,
                                                                           6/24/24,
                                                                           8/9/24

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    S.A. BRYAN INVESTMENTS,                          Lawsuit                    St. Johns County                               Pending
               LLC, a Florida limited liability                                            4010 Lewis Speedway                            On appeal
               company v RAYMOND D.                                                        Saint Augustine, FL 32084                      Concluded
               CHIN, an individual, and
               KERRY T. MOWLAM, an
               individual, and KR
               MECHANICAL, LLC, a Florida
               limited liability company
               CA23-1866



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               Case title                                       Nature of case               Court or agency's name and           Status of case
               Case number                                                                   address
       7.2.    BOOKKEEPING AND                                  Lawsuit                      Duval County                                Pending
               ACCOUNTING OF FLORIDA,                                                        501 W Adams St.                             On appeal
               INC, v KR Mechanical, LLC                                                     Jacksonville, FL 32202                      Concluded
               2024-CC-12046

       7.3.    CARRIER ENTERPRISE, LLC                          Lawsuit                      Orange County                               Pending
               v KR MECHANICAL, LLC;                                                         425 N Orange Ave.                           On appeal
               KERRY MOWLAM                                                                  Orlando, FL 32801                           Concluded
               2024-CC-014296

       7.4.    HOJOCA CORPORATION v                             Lawsuit                      Orange County                               Pending
               KR MECHANICAL, LLC a/k/a                                                      425 N Orange Ave.                           On appeal
               KR MECHANICAL a Florida                                                       Orlando, FL 32801                           Concluded
               Limited Liability Company and
               KERRY T. MOWLAM a/k/a
               KERRY MOWLAM in his
               individual capacity,, jointly and
               severally
               2024-CA-1584

       7.5.    RING POWER CORPORATION                           Lawsuit                      Duval County                                Pending
               v KR MECHANICAL, LLC, a                                                       501 W Adams St.                             On appeal
               Florida limited liability company                                             Jacksonville, FL 32202                      Concluded
               2024-CC-589

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.


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                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Adam Law Group, P.A.
                 2258 Riverside Ave.
                 Jacksonville, FL 32204                                                                                        8/6/24                   $5,838.00

                 Email or website address
                 bk@adamlawgroup.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     9651 Hood Road                                                                                            2020 - Nov, 2021
                 Jacksonville, FL 32257

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.
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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was           Last balance
              Address                                           account number            instrument                   closed, sold,          before closing or
                                                                                                                       moved, or                       transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.
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       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Joey Bryan                                                                                                                 2022 - 2023


       26a.2.       Patty Henry                                                                                                                2021 - 2022


       26a.3.       Raymond Chin                                                                                                               2019 - 2024



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Assurance Dimensions                                                                                                       2019 - 2022
                    7500 Belfort Pkwy, Ste 290
                    Jacksonville, FL 32256
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Business Valuation, Inc.                                                                                                   2021 - 2024
                    5210 Belfort Rd.
                    Jacksonville, FL 32256

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
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                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       KR Mechanical, LLC
                    2670 Phyllis St.
                    Jacksonville, FL 32204
       26c.2.       Raymond Chin
                    2981 Shoreward Ave.
                    Orange Park, FL 32073
       26c.3.       Kerry Mowlam
                    224 Oleander St.
                    Neptune Beach, FL 32266

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Raymond Chin                                  2981 Shoreward Ave.                                  CEO/Owner                             50%
                                                     Orange Park, FL 32073

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kerry Mowlam                                  224 Oleander St.                                     COO/Owner                             50%
                                                     Neptune Beach, FL 32266



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       S.A. Bryan Investments                        Need Address                                         15% Prof. Share for Initial
                                                                                                          Investment


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.
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               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          August 23, 2024

 /s/    Raymond Chin                                                     Raymond Chin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                    Middle District of Florida
 In re       KR Mechanical, LLC                                                                                                                    Case No.   3:24-bk-2404
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $               5,838.00
             Prior to the filing of this statement I have received .......................................................                     $               5,838.00
             Balance Due ...................................................................................................................   $                   0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     August 23, 2024                                                                                      /s/ Thomas Adam
     Date                                                                                                 Thomas Adam
                                                                                                          Signature of Attorney
                                                                                                          Adam Law Group, PA
                                                                                                          2258 Riverside Ave
                                                                                                          Jacksonville, FL 32204
                                                                                                            Fax:
                                                                                                          tadam@adamlawgroup.com
                                                                                                          Name of law firm




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